 

 

Case 3:16-cr-00015 Document 134 Filed in TXSD on 02/28/18 Page 1 of 15

UNITED STATES DISTRlCT COURT
SOUTHERN DISTRICT OF TEXAS

GALVESTON DIVISION
UNITED STATES OF AMERICA §
v. § CRIMINAL NO. G-l6-15-07
RAFAEL ORTUNO CARRENO, §
Defendant. §
PLEA AGREEMENT

The United States of America, by and through Ryan K. Patrick, United States Attorney for
the Southern District of Texas, and Kenneth A. Cusick, Assistant United States Attorney, and the
defendant, Rafael Ortuno Carreno (“Defendant”), and Defendant’s counsel, Ralph Martinez,
pursuant to Rule ll(c)(l)(B) of the Federal Rules of Criminal Procedure, state that they have
entered into an agreement, the terms and conditions of Which are as follows:

Defendant’s Agreement

l. Defendant agrees to plead guilty to Count ONE of the lndictment. Count ONE charges
Defendant With conspiring between July l, 2015, and February 22, 2016, With other persons to
possess with intent to distribute more than 50 grams of methamphetamine, or more than 500 grams
of a mixture or substance containing a detectable amount of methamphetamine, and more than five
(5) kilograms of cocaine, in violation of Title 21, United States Code, Section 846. Defendant, by
entering this plea, agrees that he is Waiving any right to have the facts that the law makes essential
to the punishment either charged in the indictment, or proved to a jury or proven beyond a
reasonable doubt.

Punishment Range
2. The statutory penalty for this alleged violation of Title 21, United States Code, Section

846, is imprisonment for not less than 10 years or more than life imprisonment, a fine not to exceed

 

 

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$ 10,000,000. Additionally, Defendant may receive a term of supervised release after
imprisonment of at least five (5) years. See Title 18, United States Code, sections 3559(a)(3) and
3583(b)(2). Defendant acknowledges and understands that if he should violate the conditions of
any period of supervised release which may be imposed as part of his sentence, then Defendant
may be imprisoned for the entire term of supervised release, without credit for time already served
on the term of supervised release prior to such violation. See Title 18, United Stated Code,
sections 3559(a)(3) and 3583(€)(3). Defendant understands that he cannot have the imposition or
execution of the sentence suspended, nor is he eligible for parole.
Mandatory Special Assessment
3. Pursuant to Title 18, United States Code, section 3013(a)(2)(A), immediately after
sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment
in the amount of one hundred dollars ($lO0.00) per count of conviction. The payment will be by
cashier’s check or money order, payable to the Clerk of the United States District Court, c/o District
Clerk’s Oftice, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.
Immigration Consequences
4. Defendant recognizes that pleading guilty may have consequences with respect to his
immigration status if he is not a citizen of the United States. Defendant understands that if he is
not a citizen of the United States, by pleading guilty he may be removed from the United States,
denied citizenship, and denied admission to the United States in the future. Defendant’s attorney

has advised Defendant of the potential immigration consequences resulting from Defendant’s plea

of guilty.

 

 

 

 

 

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Cooperation

5. The parties understand this agreement carries the potential for a motion for departure
under Section 5Kl .l of the Sentencing Guidelines. Defendant understands and agrees that
whether such a motion is filed will be determined solely by the United States through the United
States Attomey for the Southem District of Texas. Should Defendant’s cooperation, in the sole
judgment and discretion of the United States, amount to “substantial assistance,” the United States
reserves the sole right to file a motion for departure pursuant to Section 5Kl .l of the United States
Sentencing Guidelines. Defendant further agrees to persist in that plea through sentencing, fully
cooperate with the United States, not oppose the forfeiture of assets contemplated in paragraph 22
of this agreement Defendant understands and agrees that the United States will request that
sentencing be deferred until that cooperation is complete.

6. Defendant understands and agrees that “fully cooperate,” as that term is used herein,
includes providing all information relating to any criminal activity known to Defendant, including
but not limited to the drug trafficking conspiracy alleged in Count ONE of this Indictment.
Defendant understands that such information includes both state and federal offenses arising
therefrom. In that regard:

(a) Defendant agrees that this plea agreement binds only the United States

Attomey for the Southern District of Texas and Defendant; it does not bind any

other United States Attorney or any other unit of the Department of Justice;

(b) Defendant agrees to testify truthfully as a witness before a grand jury or in

any other judicial or administrative proceeding when called upon to do so by the

United States. Defendant further agrees to waive his Fifth Amendment privilege

against self-incrimination for the purpose of this agreement;

(c) Defendant agrees to voluntarily attend any interviews and conferences as
the United States may request;

 

 

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(d) Defendant agrees to provide truthful, complete and accurate information

and testimony and understands any false statements made by the defendant to the

Grand Jury or at any court proceeding (criminal or civil), or to a government agent

or attorney, can and will be prosecuted under the appropriate perjury, false

statement, or obstruction statutes;

(e) Defendant agrees to provide to the United States all documents in his

possession or under his/her control relating to all areas of inquiry and investigation;

and

(f) Should the recommended departure, if any, not meet Defendant’s

expectations, the Defendant understands that he remains bound by the terms of this

agreement and cannot, for that reason alone, withdraw his plea.

Waiver of Appeal and Collateral Review

7. Defendant is aware that Title 28, United States Code, section 1291, and Title 18, United
States Code, section 3742, afford a defendant the right to appeal the conviction and sentence
imposed. Defendant is also aware that Title 28, United States Code, section 2255, affords the right
to contest or “collaterally attack” a conviction or sentence after the judgment of conviction and
sentence has become final. Defendant knowingly and voluntarily waives the right to appeal or
“collaterally attack” the conviction and sentence, except that Defendant does not waive the right
to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on
collateral review in a motion under Title 28, United States Code, section 2255. ln the event
Defendant files a notice of appeal following the imposition of the sentence or later collaterally
attacks his conviction or sentence, the United States will assert its rights under this agreement and
seek specific performance of these waivers.

8. ln agreeing to these waivers, Defendant is aware that a sentence has not yet been

determined by the Court. Defendant is also aware that any estimate of the possible sentencing

range under the sentencing guidelines that he may have received from his counsel, the United

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States or the Probation Office, is a prediction and not a promise, did not induce his guilty plea, and
is not binding on the United States, the Probation Office or the Court. The United States does not

make any promise or representation concerning what sentence the defendant will receive.

 

Defendant iiirther understands and agrees that the United States Sentencing Guidelines are
“effectively advisory” to the Court. See United States v. Booker, 543 U.S. 220 (2005).
Accordingly, Defendant understands that, although the Court must consult the Sentencing
a Guidelines and must take them into account when sentencing Defendant, the Court is not bound
to follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline range.

9. Defendant understands and agrees that each and all waivers contained in the Agreement
are made in exchange for the concessions made by the United States in this plea agreement

The United States' Agreements

`“ 10. The United States agrees to each of the following:
(a) If Defendant pleads guilty to Count ONE of the indictment and persists in
that plea through sentencing, and if the Court accepts this plea agreement, the
United States will move to dismiss any remaining counts of the indictment at the
time of sentencing; and
(b) If the Court determines that Defendant qualifies for an adjustment under
section 3El.l(a) of the United States Sentencing Guidelines, and the offense level
prior to operation of section 3El .l(a) is l6 or greater, the United States will move
under section 3El.l(b) for an additional one-level reduction because Defendant
timely notified authorities of his or her intent to plead guilty, thereby permitting the

United States to avoid preparing for trial and permitting the United States and the
Court to allocate their resources more efficiently.

 

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Agreement Binding - Southern District of Texas Only
ll. The United States Attorney’s Office for the Southem District of Texas agrees that it
will not further criminally prosecute Defendant in the Southem District of Texas for offenses
arising from conduct charged in the indictment This plea agreement binds only the United States
Attorney’s Office for the Southem District of Texas and Defendant lt does not bind any other

United States Attorney’s Office. The United States Attorney’s Office for the Southem District of

 

Texas will bring this plea agreement and the full extent of Defendant’s cooperation to the attention
of other prosecuting offices, if requested
United States’ Non-Waiver of Appeal
12. The United States reserves the right to carry out its responsibilities under guidelines
§ sentencing Specifically, the United States reserves the right:
(a) to bring its version of the facts of this case, including its evidence file and

any investigative files, to the attention of the Probation Office in connection with
that office’s preparation of a presentence report;

 

(c) to seek resolution of such factors or facts in conference with Defendant’s

§ (b) to set forth or dispute sentencing factors or facts material to sentencing;
§ counsel and the Probation Office;

(d) to file a pleading relating to these issues, in accordance with section 6Al .2
of the United States Sentencing Guidelines and Title 18, United States Code,
Section 3553(a); and
(e) to appeal the sentence imposed or the manner in which it was determined
Sentence Determination
13. Defendant is aware that the sentence will be imposed after consideration of the United States
Sentencing Guidelines and Policy Statements, which are only advisory, as well as the provisions

of Title 18, United States Code, Section 3553(a). Defendant nonetheless acknowledges and

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agrees that the Court has authority to impose any sentence up to and including the statutory
maximum set for the offense(s) to which Defendant pleads guilty, and that the sentence to be
imposed is within the sole discretion of the sentencing judge after the Court has consulted the
applicable Sentencing Guidelines. Defendant understands and agrees that the palties’ positions
regarding the application of the Sentencing Guidelines do not bind the Court and that the sentence
imposed is Within the discretion of the sentencing judge. If the Court should impose any sentence
up to the maximum established by statute, or should the Court order any or all of the sentences
imposed to run consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea, and
will remain bound to fulfill all of the obligations under this plea agreement
Rights at Trial

l4. Defendant understands that by entering into this agreement, he surrenders certain
rights as provided in this plea agreement Defendant understands that the rights of a defendant
include the following:

(a) lf Defendant persisted in a plea of not guilty to the charges, defendant would

have the right to a speedy jury trial with the assistance of counsel. The trial may

be conducted by a judge sitting without a jury if Defendant, the United States, and

the court all agree.

(b) At a trial, the United States would be required to present witnesses and other

evidence against Defendant Defendant would have the opportunity to confront

those witnesses and his attorney would be allowed to cross-examine them. ln turn,

Defendant could, but would not be required to, present witnesses and other

evidence on his own behalf. If the witnesses for Defendant would not appear

voluntarily, he could require their attendance through the subpoena power of the

court; and

(c) At a trial, Defendant could rely on a privilege against self-incrimination and

decline to testify, and no inference of guilt could be drawn from such refusal to

testify. However, if Defendant desired to do so, he could testify on his/her own
behalf.

 

 

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Factual Basis for Guilty Plea
15. Defendant is pleading guilty because he is in fact guilty of the charges contained in
Count ONE of the indictment If this case were to proceed to trial, the United States could prove
each element of the offense beyond a reasonable doubt The following facts, among others would
be offered to establish Defendant’s guilt:

RAFAEL ORTUNO CARRENO AKA “Jose Rojas-Duque” aka “Ruben” was a source of
cocaine and methamphetamine for Agusto LAZO-Aguirre during the period of the drug
conspiracy. CARRENO maintained a stash house for drugs and money (drug proceeds) at 10855
Meadowglen Ln., Apt.. #703, Houston, Texas. The overall drug conspiracy existed and was
operating between July 1, 2015, and February 22, 2016, however the activities involving
CARRENO occurred from January 16-22, 2016. The following transactions were documented
and observed based upon electronic and physical surveillance conducted by federal, state, and
local law enforcement officers.

During this period there were numerous cell telephone calls between LAZO and
CARRENO. A court authorized FBI wiretap captured these calls between LAZO’s cell phone
(281) 914-1799 (FBI TT3) and CARRENO’s cell phone (832) 475-2041. The wiretap revealed
The following calls in which CARRENO was referred to as “UM2014”:

1. Session 2547 on 1-16-2016: Lazo and Carreno discussed that ”the bill is ready” and they
agreed to meet early the next morning.

2. Session 2849 on 1-17-2016: LAZO asked if Carreno wants LAZO to bring the electric
bill. . .they will meet at the Jack in the Box both persons seemed familiar with. LAZO
asked what was the number they had pending. Carreno responded it was the 4 of that
little thing. LAZO affirmed Carreno said that it was the 6-5 of that one. Carreno said that
LAZO gave him 6 and there are 4 left of the little cousin and 5, like 2-4-5. Carreno is on
the way over.

3. Session 2856 @ 12:21 :05 pm on 1-17-2016: UM calls, he is almost there.

During the period from 1-19-2016 until 1-20-2016, there were a series of intercepted cell
phone calls between LAZO and CARRENO in which a one (l) kilogram cocaine transaction was
discussed There were six (6) calls intercepted between LAZO’s cell phone # (281) 914-1799
and CARRENO’s cell phone # (713) 933-9507. The discussions focused upon finding a “whole
one” or one (l) kilogram of cocaine instead of only a half. Once CARRENO obtained a whole
kilogram of cocaine, LAZO and the buyer were to travel to CARRENO’s place and inspect the
cocaine. Once inspected, the buyer stated that it was very good stuff. LAZO and CARRENO

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then argued about the price of the kilogram of cocaine. LAZO spoke about a ”Michelada” LAZO
had to prepare and asked CARRENO if he had anybody who needed LAZO to put something
together, then LAZO would take it at l4. LAZO told CARRENO that CARRENO does not have
somebody with another half, then LAZO would have to go to the “little store”.

Later during the afternoon of 1-20-2016, LAZO called to ask CARRENO whether he had
“any little Buchanans over there” so he (CARRENO) can throw one to LAZO because LAZO
had a young guy looking for one. Based upon the code words used and the manner in which they
spoke, it is believed by the law enforcement investigative team that this conversation involved an
attempt to locate and purchase one (1) kilogram of methamphetamine

On 1-22-2016, based upon conversations heard over the wiretap interceptions concerning
threats against the personal safety of CARRENO by LAZO, agents approached the stash house
located at 10855 Meadowglen Ln., Apt. #703, Houston, Texas to locate CARRENO.
CARRENO was present at this location and was detained on an immigration warrant Based
upon plain view observations, a search warrant was obtained and executed The following items
were found:

263.2 grams of cocaine found in the dishwasher in the kitchen;

$14,198.00 in U.S. currency found behind the dresser in the master bedroom;
Packaging materials for wrapping drugs;

Two(2) Digital Scales found in the kitchen;

One (l) Smith & Wesson 9 mm caliber pistol, serial number “TFL8982” found at the
foot of the bed under a blanket in the master bedroom with two (2) magazines
and 9 mm ammunition;

Four (4) cell phones found in master bedroom closet ;
One (1) Rolex watch and one(l) gold chain found in the bedroom closet;
One (1) BMW 525i automobile; and

On CARRENO were the following items:
$934.00 U.S. currency and three (3) cell phones in CARRENO’s pockets.
The three (3) cell phones in his pockets included:
l) Samsung flip phone (832) 475-2041,
2) LG flip phone (713) 933-9507, and
3) Samsung 85 phone (713) 336-3401.

The overall scope of this drug distribution conspiracy involved at least 50 grams of
methamphetamine, or more than 500 grams of a mixture or substance containing a detectable

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amount of methamphetamine, and more than five (5) kilograms of cocaine. The Defendant knew
or reasonably should have known that the scope of the conspiracy involved at least one and one-
half (l .5) kilograms of methamphetamine and 1.263 kilograms of cocaine, which were the
quantities of methamphetamine and cocaine either discussed or seized by or from CARRENO.
Breach of Plea Agreement

16. lf Defendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and Defendant’s plea and sentence will stand lf at any time Defendant retains,
conceals, or disposes of assets in violation of this plea agreement, or if Defendant knowingly
withholds evidence or is otherwise not completely truthful with the United States, then the United
States may move the Court to set aside the guilty plea and reinstate prosecution Any information
and documents that have been disclosed by Defendant, whether prior to or subsequent to this plea
agreement, and all leads derived therefrom, will be used against defendant in any prosecution.

Restitution, Forfeiture, and Fines - Generally

17. This Plea Agreement is being entered into by the United States on the basis of
Defendant’s express representation that he will make a full and complete disclosure of all assets
over which he exercises direct or indirect control, or in which he/she has any financial interest
Defendant agrees not to dispose of any assets or take any action that would effect a transfer of
property in which he/she has an interest, unless Defendant obtains the prior written permission of
the United States.

18. Defendant agrees to make complete financial disclosure by truthfully executing a
sworn financial statement (Form OBD-500 or similar form) within 14 days of signing this plea

agreement Defendant agrees to authorize the release of all financial information requested by

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the United States, including, but not limited to, executing authorization forms permitting the
United States to obtain tax information, bank account records, credit histories, and social security
information Defendant agrees to discuss and answer any questions by the United States relating
to Defendant’s complete financial disclosure.

19. Defendant agrees to take all steps necessary to pass clear title to forfeitable assets to
the United States and to assist fully in the collection of restitution and fines, including, but not
limited to, surrendering title, executing a warranty deed, signing a consent decree, stipulating to
facts regarding the transfer of title and the basis for the forfeiture, and signing any other documents
necessary to effectuate such transfer. Defendant also agrees to direct any banks which have
custody of his assets to deliver all funds and records of such assets to the United States.

20. Defendant understands that forfeiture, restitution, and fines are separate components
of Sentencing and are separate obligations

Restitution

21. Defendant agrees to pay full restitution to the victim(s) regardless of the count(s) of
conviction. Defendant understands and agrees that the Court will determine the amount of
restitution to fully compensate the victim(s). Defendant agrees that restitution imposed by the
Court will be due and payable immediately and that Defendant will not attempt to avoid or delay
payment Subj ect to the provisions of paragraph 7 above, Defendant waives the right to challenge
in any manner, including by direct appeal or in a collateral proceeding, the restitution order

imposed by the Court.

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Forfeiture
22. Defendant agrees to waive any and all interest in any asset which is the subject of a

related administrative or judicial forfeiture proceeding whether criminal or civil, federal or state.

23. Subj ect to the provisions of paragraph 7 above, Defendant waives the right to
challenge the forfeiture of property in any manner, including by direct appeal or in a collateral
proceeding

Fines

24. Defendant understands that under the Sentencing Guidelines the Court is permitted to
order Defendant to pay a fine that is sufficient to reimburse the government for the costs of any
imprisonment or term of supervised release, if any. Defendant agrees that any fine imposed by
the Court will be due and payable immediately, and Defendant will not attempt to avoid or delay
payment Subj ect to the provisions of paragraph 7 above, Defendant waives the right to challenge
the fine in any manner, including by direct appeal or in a collateral proceeding

Complete Agreement

25. This written plea agreement, consisting of 15 pages, including the attached addendum
of Defendant and his attomey, constitutes the complete plea agreement between the United States,
Defendant, and Defendant’s counsel. No promises or representations have been made by the
United States except as set forth in writing in this plea agreement Defendant acknowledges that
no threats have been made against him and that he is pleading guilty freely and voluntarily because

he is guilty,

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26. Any modification of this plea agreement must be in writing and signed by all parties.

Filed at 7/'? ,Texas, on 22 5 ,20 /g.

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MAEL oRTUNo CARRENo
Defendant
Subscribed and sworn to before me on g \ , 20 _[§

DAVID J. BRADLEY, Clerk
UNITED STATES DISTRICT CLERK

 

By:
Deputy United States District Clerk

APPROVED:

RYAN K. PATRICK

§ UNI;,WTTORNEY
By: / /{%LZAM/(

KENHETH A. CUSICK '“ RAL erzz
Assistant United States Attomey Attorney for Def ndant
Southern District of Texas
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
GALVESTON DIVISION
UNITED STATES OF AMERICA
CRIMINAL NO. G-16-15-07

V.

RAFAEL ORTUNO CARRENO,
Defendant

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PLEA AGREEMENT -- ADDENDUM
l have fully explained to Defendant his/her rights with respect to the pending indictment I
have reviewed the provisions of the United States Sentencing Commission’s Guidelines Manual
and Policy Statements and l have fully and carefully explained to Defendant the provisions of
those Guidelines which may apply in this case, I have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up to the maximum

allowed by statute per count of conviction. Further, l have carefully reviewed every part of this

  
   

plea agree ent with Defendant To my knowledge, Defendant’s decision to enter into this

agreeme \ ' ` t ed and voluntary one. »

;[ if

l have consulted with my attorney and fully understand all my rights with respect to the

   

.T;.E Date

Attomey for Defenan

indictment pending against me. My attorney has fully explained, and 1 understand, all my rights

with respect to the provisions of the United States Sentencing Commission’s Guidelines Manual

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which may apply in my case, 1 have read and carefully reviewed every part of this plea agreement
with my attorney. l understand this agreement and l voluntarily agree to its terms.

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RA¥AEL ORTUNO CARRENO Date
Defendant

 

 

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